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 1   Thane Charman
     2270 Boundary St
 2
     San Diego, CA 92104
 3   Telephone: 800-673-4384
     Email: OBEY.TCPA@GMAIL.COM
 4
 5   Plaintiff, Pro Se
 6
                                 UNITED STATES DISTRICT COURT
 7
                               SOUTHERN DISTRICT OF CALIFORNIA
 8
 9
      THANE CHARMAN, individual                  Civil Case No.: 3:23-cv-00959-BAS-
10
                          Plaintiff,             KSC
11
      v.                                         STIPULATION OF
12
                                                 DISMISSALWITHOUT PREJUDICE
      DESERT LAKE GROUP, LLC, d/b/a
13
      FIRST CLASS HERB TINCTURE, d/b/a
14    FIRST CLASS HERBALISTCBD, d/b/a
      FIRST CLASSHERBALIST OILS, d/b/a
15
      USAHERBALIST OILS,. BENSON
16    CHRISTOPHER HUNTER, an individual.
      CHRIS TIRRELL ARMSTRONG, an
17
      individual. DARIN EDWARD TOONE,
18    an individual. JARED C FORBUSH, an
      individual. JONATHAN KENT VIRGIN,
19
      an individual. NICHOLAS ANTHONY
20    ARMSTONG, an individual. NICHOLAS
      LANE JESSEN, an individual RYAN
21
      DEAN HOGGAN, an individual
22
23                       Defendants,
24
25
26   To:   Defendants,
27
28
                     STIPULATION OF DISMISSALWITHOUT PREJUDICE
     Case 3:23-cv-00959-BAS-KSC Document 19 Filed 01/16/24 PageID.172 Page 2 of 2




 1         Plaintiff, pursuant to Rule 41 of the Federal Rules of Civil Procedure, voluntarily
 2
     dismisses these defendants from the above action, without prejudice, and files this notice
 3
     of dismissal with the Clerk of the above-entitled court.
 4
 5   Dismissed defendants are, DESERT LAKE GROUP, LLC, BENSON CHRISTOPHER
 6
     HUNTER, an individual. DARIN EDWARD TOONE, an individual. JARED C
 7
     FORBUSH, an individual. JONATHAN KENT VIRGIN, an individual. NICHOLAS
 8
 9   ANTHONY ARMSTONG, an individual. NICHOLAS LANE JESSEN, an individual.
10
11
           This notice was filed on the date set forth below.
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13
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16
17                Dated: January 16, 2024          respectfully submitted,
18
19
                                                By: /S/ Thane Charman
20
                                                Thane Charman
21                                              2270 Boundary St
22                                              San Diego, CA 92104
                                                Telephone 800-673-4384
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25                                              Thane Charman
26                                              Plaintiff, Pro SE
27
28
                    STIPULATION OF DISMISSALWITHOUT PREJUDICE
